    Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                   x




UNITED STATES OF AMERICA                  SUPERSEDING
                                          INFORMATION

                                          34 17 Cr. 225 (NSR)
CHUKWUEMEKA OKPARAEKE,
    a/k/a "Emeka,"


                  Defendant


                                   x



                              COUNT ONE


     The Acting United States Attorney charges:

     1. In or about November 2016, in the Southern District of


New York and elsewhere, CHUKWUEMEKA OKPARAEKE, a/k/a "Emeka/"

the defendant/ intentionally and knowingly distributed and

possessed with intent to distribute a controlled substance


analogue.


     2. The controlled substance analogue that CHUKWUEMEKA


OKPARAEKE, a/k/a ^Emeka/" the defendant, intentionally and

knowingly distributed and possessed with intent to distribute

was 3/4-Dichloro-N-[2-(dimethyiamino) cyclohexyl]-N


methylbenzamide (known as "U~47700//) / a controlled substance


analogue, as defined in Title 21, United States Code, Section


802 (32)/ of 3/4-dichloro-N-t(1-dimethylamino)

cyclohexylmethyl]benzamide (known as V'AH-7921//) / that was
    Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 2 of 6




intended for human consumption and is treated as controlled


substance in Schedule I of the Controlled Substances Act/ in


violation of Title 21, United States Code^ Sections 813 and

841(b) (1) (C) .

    (Title 21, United States Code/ Sections 813, 841(a)(I)/ and
                            841(b) (1)(C).)

                           COUNT TWO


      The Acting United States Attorney further charges:

      3, From in or about January 2017, up to and including in


or about February 2017, in the Southern District of New York and

elsewhere/ CHUKWUEMEKA OKPARAEKE/ a/k/a UEmeka,// the defendant/


knowingly and intentionally did import and attempt to import

into the United States from any place outside thereof a


controlled substance analogue/ to wit/ OKPARAEKE imported and


attempted to import a controlled substance analogue into the


United States from Hong Kong/ in violation of Title 21, United

States Code, Sections 952(a)/ 960 (a)(1), and 963.

      4. The controlled substance analogue that CHUKWUEMEKA

OKPARAEKE, a/k/a "Emeka/" the defendant/ knowingly and

intentionally imported and attempted to import was 100 grams and

more of mixtures and substances containing a detectable amount


of N-(l-phenethylpiperidin-4-yl)-N-phenylacrylamide (known as


"acryl fentanyl" or "acryloylfentanyl"), a controlled substance


analogue/ as defined in Title 21, United States Code/ Section
     Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 3 of 6




802 (32), that was intended for human consumption and is treated

as a controlled substance in Schedule I of the Controlled


Substances Act/ and that is an analogue of N-phenyl-N-[1-(2-


phenylethyi)-4-piperidinyl] propanamide ("fentanyl")/ in

violation of Title 21, United States Code, Sections 813 and

960 (b) (1) (F) .

 (Title 21, United States Code, Sections 813, 952 (a), 960 (a)(1),
                        960(b)(1)(F)/ and 963. )

                              COU^ET THREE


      The Acting United States Attorney further charges:

      5, On or about September 15, 2020, in the Southern


District of New York/ CHUKWUEMEKA OKPARAEKE/ a/k/a "Emeka/" the

defendant/ in a matter within the jurisdiction of the executive/


legislative/ or judicial branch of the Government of the United

States/ knowingly and willfully falsified/ concealed/ and

covered by a trick/ scheme/ and device a material fact/ and made


a materially false/ fictitious/ and fraudulent statement and


representation/ to wit, during a meeting with representatives of


the United States Attorney/s Office for the Southern District of

New York and the United States Postal Inspection Service,


OKPARAEKE falsely and fraudulently represented/ in sum and

substance/ that approximately 680 bitcoins were not in


OKPARAEKE7s possession and control and had been stolen from


OKPARAEKE by a third party through hacking and other
   Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 4 of 6




unauthorized access to OKPARAEKEf s electronic accounts.


          (Title 18, United States Code/ Section 1001.)

                       FORFEITURE ALLEGATION

     6. As a result of committing the offenses alleged in


Counts One and Two of this Information/ CHUKWUEMEKA OKPARAEKE,

a/k/a "Emeka^// the defendant/ shall forfeit to the United


States/ pursuant to Title 21, United States Code, Section 853^


any and all property constituting/ or derived from/ any proceeds


obtained, directly or indirectly/ as a result of said offenses


and any and all property used/ or intended to be used/ in any


manner or part/ to commit/ or to facilitate the commission of/


said offenses/ including but not limited to:

          a. a sum of money equal to $105,177.30 in United


States currency, representing the amount of proceeds traceable


to the commission of said offense other than the specific


property described below; and

          b. all right/ title and interest of the defendant in

the following specific property: 680. 60963624 bitcoins,

contained in the bitcoin address

3DTSBzmieF8tAECqsDJttf2BeKnar8caQU.

                    Substitute Assets Provision


     7. If any of the above-described forfeitable property/ as


a result of any act or omission of the defendant:
    Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 5 of 6




             a. cannot be located upon the exercise of due


diligence;

             b. has been transferred or sold to, or deposited


with, a third person;


             c. has been placed beyond the jurisdiction of the

Court;


             d. has been substantially diminished in value; or


             e. has been commingled with other property which


cannot be subdivided without difficulty/

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853 (p)/ to seek forfeiture of any

other property of the defendant up to the value of the above


forfeitable property.


             (Title 21, United States Code/ Section 853.)




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                                      AUDREY ^TRAUSS
                                      Acting United States Attorney
Case 7:17-cr-00225-NSR Document 157 Filed 10/15/20 Page 6 of 6

             Form No. USA-33s-274 (Ed. 9-25-58



                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK



                  UNITED STATES OF AMERICA

                               V. -



                   CHUKWUEMEKA OKPARAEKE,

                          Defendant.




                   SUPERSEDING INFORMATION

                     34 17 Cr. 225 (NSR)

             18 U.S.C. § 1001; 21 U.S.C. §§ 813,
              841(a)(1), 841(b) (1)(C)/ 952(a),
               960(a)(l)/ 960(b)(1)(F)/ 963.)




         AUDREY STRAUSS
                             Acting United States
                             Attorney.
